Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 1 of 143 PageID #:1516




                      Exhibit 1
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 2 of 143 PageID #:1517




                                     U.S. Department of Justice

                                     United States Attorney
                                     Northern District of Illinois
 Elizabeth R. Pozolo                  Dirksen Federal Courthouse                     Direct Line: (312) 469-6131
 Assistant United States Attorney    219 South Dearborn Street, Fifth Floor   E-mail: elizabeth.pozolo@usdoj.gov
                                     Chicago, IL 60604



                                                   July 1, 2022

Via Email and U.S. Mail (Enclosures)

Jennifer Bonjean                                             Mary Judge
Bonjean Law Group, PLLC                                      Federal Defender Program
750 Lexington Avenue, 9th Floor                              55 East Monroe, Suite 2800
New York, New York 10022                                     Chicago, Illinois 60603
Counsel for Robert Kelly                                     Counsel for Milton Brown

Vadim A. Glozman                                             Beau B. Brindley
Law Offices of Vadim A. Glozman                              Law Offices of Beau B. Brindley
53 West Jackson Boulevard                                    53 West Jackson Boulevard
Suite 1410                                                   Suite 1410
Chicago, Illinois 60604                                      Chicago, Illinois 60604
Counsel for Derrel McDavid                                   Counsel for Derrel McDavid

         Re:      United States v. Robert Sylvester Kelly, et al., No. 19 CR 567

Dear Counsel:

      Pursuant to Rule 16(a)(1)(G) of the Federal Rules of Criminal Procedure, the
government hereby notifies you that, at trial, the government intends to present
expert testimony, as detailed below:

         1.       Dr. Darrel Turner

       The government expects that Dr. Turner will be qualified to testify as an expert
on issues related to child sexual abuse, including but not limited to:

                  a)        Typical means abusers use to target, recruit, manipulate, and
                            groom minor victims;
                  b)        Contributing factors that can make children more susceptible to
                            grooming and influence by abusers;
                  c)        Certain victim/abuser dynamics, including why victims may
                            experience conflicting feelings and/or emotions toward their
    Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 3 of 143 PageID #:1518




                      abusers, including ongoing love, affection, dependence, and the
                      need for connection with their perpetrator;
               d)     Contributing factors that can cause victims to delay disclosure of
                      sexual abuse, recant, or outright deny the abuse;
               e)     Common victim reactions, including physical, emotional, and
                      mental responses to incidents of sexual abuse or exploitation.

      Dr. Turner’s CV is enclosed. The government has copies of some transcripts of
Dr. Turner’s testimony in other child exploitation cases: (1) United States v. Telles,
16 CR 424 (N.D. Ca.) (see TRANSCRIPT_005-000078 – 128);1 and (2) United States
v. Numann, Case No, 16 CR 65 (D. Alaska) (see TRANSCRIPT_005-000001 – 77).
These transcripts are just provided as examples of Dr. Turner’s testimony and not as
a comprehensive review of all prior testimony.

         2.    George R. Skaluba (FBI)

       The government expects that Mr. Skaluba will be qualified to testify about the
physical and electronic examinations that he conducted of certain VHS videocassette
tapes (referred to as “Video 1,” “Video 2,” and “Video 3” in the superseding
indictment). As set forth in Mr. Skaluba’s reports that were already produced to you,
Mr. Skaluba is expected to testify about the processes that he used to analyze the
VHS videocassette tapes and his determinations about the content of the recordings
on the tapes. See CCSAO_001-000225 – 226 (Video 1); HSI_001-000891 – 896 (Video
2 and Video 3). In 2008, Mr. Skaluba testified about Video 1 in defendant Robert
Kelly’s Cook County criminal trial, and his testimony was produced to you. See
CCSAO_001-006679 – 6756.

         Mr. Skaluba’s CV is enclosed.

       Please advise at your earliest convenience if you anticipate objecting to any of
these witness’ qualifications as an expert in their identified field, or the substance of
their anticipated testimony, so that we can attempt to resolve any disputes prior to
trial.

        We recognize our obligation for continuing disclosure pursuant to Rule 16.
Should we receive any additional information relating to the aforementioned experts,
we will supplement these disclosures accordingly. In addition, if you believe these
disclosures are not sufficient pursuant to Federal Rule of Criminal Procedure 16,
please advise us so that we may further discuss this matter. The government
reserves its right to provide notice prior to trial of any additional experts it intends
to call at trial.

1On appeal, the Ninth Circuit affirmed the inclusion of Dr. Turner’s expert testimony at trial.
See United States v. Telles, 18 F.4th 290, 302-03 (9th Cir. 2021).

                                              2
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 4 of 143 PageID #:1519




       Further, pursuant to Rule 16(b)(1)(B) and (C), please provide us with the name,
qualifications, summary of anticipated testimony, and any reports or analysis
generated by your expert(s) as soon as possible.

       Finally, the government renews its request for all discovery to which it is
entitled pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, 12.3, and 16,
and Local Criminal Rule 16.1, including but not limited to:

     1)      The opportunity to inspect and copy any tangible item or document that
may be offered as an exhibit at trial, pursuant to Rule 16(b)(1)(A);

      2)    The results of any examination or test that may be introduced by the
defendant at trial, pursuant to Rule 16(b)(1)(B);

       3)     A written summary of any expert testimony that the defendant intends
to use, including the expert’s opinions, the bases and reasons for those opinions, and
the expert’s qualifications, pursuant to Rule 16(b)(1)(C);

       4)    Notice of any alibi or similar defense the defendant intends to raise,
including any defense asserting the defendant’s unavailability on or near the dates,
times, and places named in the indictment, pursuant to Rule 12.1;

       5)     Notice of any defense, or of an intent to offer expert testimony,
concerning a mental defect or condition inconsistent with the state of mind required
for the offense charged, pursuant to Rule 12.2; and

      6)     Notice of a defense of public authority, pursuant to Rule 12.3.


      Please do not hesitate to contact me if you have any questions or concerns.

                                              Very truly yours,

                                              JOHN R. LAUSCH, JR.
                                              United States Attorney

                                       By:    Elizabeth R. Pozolo
                                              Elizabeth R. Pozolo
                                              Jeannice W. Appenteng
                                              Jason Julien
                                              Assistant United States Attorneys




                                          3
 Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 5 of 143 PageID #:1520




                                    2022 CURRICULUM
                                          VITAE

                                    Darrel B. Turner, PhD


PERSONAL:

       Telephone:            (337) 842-6339
       Fax:                  (337) 419-0490
       E-mail:               dbt@turnerforensicpsychology.com
       Mailing address:      P.O. Box 3245
                             Lake Charles, LA 70602
       Primary Office:       748 Bayou Pines East, Suite D
                             Lake Charles, LA 70601
       Website:              www.turnerforensicpsychology.com

EDUCATION:

       McNeese State University, Lake Charles, LA
            B.S. in Psychology, May 2002
            M.A. in Counseling Psychology, May 2006

       Sam Houston State University, Huntsville, TX
             Ph.D. in Clinical Psychology, September 2011

       Louisiana Licensed Clinical Psychologist – License #1219

       Texas Licensed Clinical Psychologist – License #36453

PROFESSIONAL EXPERIENCE:

Clinical:
       Private Clinical Practice and Forensic Practice (Competency and Sanity for Adults and
               Juveniles, Risk Assessment of Sex Offenders both Adult and Juvenile, Child
               Custody Evaluations, Fitness for Duty Evaluations, General Diagnostic
               Evaluations, etc.). Testimony as an expert witness in clinical psychology and
               forensic psychology in district, state, and federal court for prosecution and
               defense on the above matters.

       Psychological Consultant to Oceans Behavioral Health Inpatient Psychiatric Center in
             Lake Charles, LA, November, 2021 to Present

       Member of Advisory Council for Shannon Cox Family and Youth Community
            Counseling Center, January 2020, to present

        Invited Peer Reviewer for Publications in the Journal of Child Abuse and Neglect
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 6 of 143 PageID #:1521



     Federally Contracted Sex Offender Risk Assessment and Treatment Provider for Federal
            Inmates on Probation or Parole – Western District of Louisiana, Lake Charles
            Division. 2021-present

     Member of the Louisiana Registry of Sex Offender Treatment Providers (2013 to
          present).

      Substance Abuse Program (SAP) certified evaluator (2016 to present).

     Appointed to U.S. Department of Justice National Strategy SME Child Exploitation &
           Human Trafficking Council to U.S. Congress as an Expert in Offender
           Psychology (1 of 15 Worldwide), March 2020.

     Expert and Consulting Expert in Criminal and Civil Litigation Regarding Impact of
            Sexual Abuse (to include production of child pornography) on Victims (both as
            Children and Adults). Cases have included individual (offender) liability as well
            Institutional Liability (State Institutions, Mental Health Care Inpatient Facilities,
            Foster Care Networks, etc.).

     Invited to Speak Nationally and Internationally on Various Topics Related to Forensic
             Psychology at a Variety of Mental Health, Legal, and Law Enforcement
             Trainings and Conferences

     Designated as an Expert Witness in Clinical Psychology with a Specialty in Forensic
           Psychology and Sex Offending in United States Federal Court, Multiple Districts,
           Multiple State Jurisdictions, and Multiple Local Courts.

     Consultant to the FBI, NCIS, Department of Homeland Security, and Various State,
            Local, and Federal Attorneys and Law Enforcement Agencies re: Risk
            Assessment of Sexual Offenders and Behaviors of both Offenders and Victims of
            Childhood Sexual Assault

     Consultant to Various Media Sources related to True Crime Coverage for Newspapers,
            Television, and Documentary Films

     (August 2011 to February 2013) Staff Psychologist at Federal Correctional Complex,
           Pollock, LA.

     (August 2010 to August 2011) Pre-doctoral Internship with the United States Federal
           Bureau of Prisons at the Federal Correctional Institution in Fort Worth,
           Texas. Rotations include Forensic Psychology, General Psychology and
           Correctional Psychology.

     (August 2009 to May 2010) Practicum placement at Ben Taub General Hospital
           Neuropsychiatric Clinic at the Houston Medical Center in Houston, Texas.

     (June 2008 to August 2008) Practicum placement at Harris County Juvenile Detention
            Center in Houston, TX, through MHMRA.
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 7 of 143 PageID #:1522



      (November 2007 to December 2009) Conducted forensic evaluations and trial
           consultation for adults and juveniles under the supervision of Dr. Mary Alice
           Conroy across several counties in Texas. Evaluations included: Competency to
           Stand Trial, Sanity at the Time of the Offense, and Competency for Execution.

     (August 2008 to August 2009) One of two doctoral students assigned to a new 20hr/week
           Assessment Practicum placement at the Psychological Services Center in
           Huntsville, TX. Duties include adult and child psychological assessments for a
           variety of learning, personality, and forensic issues.

     (August 2007 to May 2008) Practicum placement at MCDCSC in Willis, Texas.

     (Summer 2005 to Summer 2006) Head Counselor and Assistant to Coordinator at the
          Kay Dore Counseling Clinic. Children as Primary Client Population.

PUBLICATIONS:
     ODAG (2021) (Office of Deputy Attorney General) Invited Collaborator and Expert
         Consultant on National Strategy on Child Exploitation: Offender Psychology;
         Section Prepared by United States Military Service Behavioral Analysis Unit
         (BAU) and the FBI BAU from the National Coordinator for Child
         Exploitation & Human Trafficking, the U.S. Department of Justice.

     *McCallum, K., E., Boccaccini, M. T., Varela, J. G., & Turner, D. B (2021).
          Psychopathy profiles and Personality Assessment inventory Scores in a sex
          offender risk assessment field setting. Assessment.
          https://doi.org/10.1177/10731911211015312

     *Trupp, G., Preszler, J., Boccaccini, M. T., Marcus, D. M., Varela, J. G., & Turner,
           D. B. (2021). Generalizability of psychopathy network findings to scores
           assigned to individuals convicted of a sex offense. Criminal Justice and
           Behavior, 48(5), 671-689. doi: 10.1177/0093854821989375

     Turner, D. B., Blanch, J., Sparks, C., & Hanks, M. (2015). The Sentencing
            Battleground: Understanding the current psychology research and refuting
            defense psychology and risk assessment reports at sentencing. United States
            Attorneys’ Bulletin. U.S. Department of Justice, July, 2015.

     Turner, D. B., Boccaccini, M. T., Murrie, D. C., & Harris, P. B. (2015). Jurors report
            that risk scores matter in SVP trials, but that other factors matter more.
            Behavioral Sciences and the Law. doi: 10.1002/bsl.2154

     Boccaccini, M. T., Murrie, D. C., & Turner, D. B. (2014). Jurors’ views on the value and
           objectivity of mental health expert witnesses. Behavioral Sciences and the Law,
           32, 483- 495. doi: 10.1002/bsl.2129

     Knighton, J. C., Murrie, D. C., Boccaccini, M. T., & *Turner, D. B. (2014). How likely
           is “likely to reoffend” in sex offender civil commitment trials? Law and Human
           Behavior, 38, 294- 304. doi: 10.1037/lhb0000079
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 8 of 143 PageID #:1523



     Boccaccini, M.T., Turner, D. B., Murrie, D.C., Henderson, C.E., & Chevalier, C., (2013).
           Do scores from risk measures matter to jurors? Psychology, Public Policy, and
           Law, 19, 259-269. doi: 10.1037/a0031354

     Boccaccini, M.T., Turner, D., Murrie, D. C., & Rufino, K. A. (2012). Do PCL-R scores
           from state or defense experts best predict future misconduct among civilly
           committed sex offenders? Law and Human Behavior, 36, 159-169. doi:
           10.1037/h0093949

     Clark, J., Boccaccini, M.T., & Turner, D. (2010). Attitudes toward coerced confessions:
             Psychometric properties of new and existing measures. Southwest Journal of
             Criminal Justice, 6, 185-203.

     Murrie, D.C., Boccaccini, M.T., & Turner, D.T. (2010). Ethical challenges in sex-
             offender civil commitment evaluations: Applying imperfect science in adversarial
             settings. In A. Schlank (Ed.). The Sexual Predator (Vol 4). Kingston, NJ: Civic
             Research Institute.

     Turner, D. (2011). Juror perceptions of the influence of expert witness testimony in Texas
             sexually violent predator civil commitment hearings. Ph.D. Dissertation, Sam
             Houston State University, Huntsville, Texas.

     Murrie, D.C., Boccaccini, M.T., Turner, D., Meeks, M., Woods, C. & Tussey, C. (2009).
            Rater (dis)agreement on risk assessment measures in sexually violent predator
            proceedings: Evidence of adversarial allegiance in forensic evaluation?
            Psychology, Public Policy, and Law, 15, 19-53.

     Boccaccini, M.T., Turner., & Murrie, D.C. (2008). Do some evaluators report
           consistently higher or lower scores on the PCL-R?: Findings from a statewide
           sample of sexually violent predator evaluations. Psychology, Public Policy, and
           Law, 14, 262-283. Turner, D. B., & Marceaux, J. C. (2005, July). Cell
           assignment among violent and non-violent offenders and its effect on recidivism.
           American Journal of Psychological Research,
           http://www.mcneese.edu/colleges/ed/deptpsy/ajpr/ajpr12.pdf

     State of Louisiana Department of Social Services Office of Family Support. (2005).
             Best Practices of the access and visitation program for the 14th judicial
             District family and juvenile court. Baton Rouge, LA: Disney, J.M., &
             Turner, D.B.


INVITED PROFESSIONAL PRESENTATIONS/CONSULTATIONS:
     Hamilton, P., Thorne, S., Turner, D., Latham, J. (2022). Civil Commitment and
           Behavioral Abnormality Assessment and Placement. Council on Sex Offender
           Treatment. Denton, Texas.

     Keynote Speaker at the British Psychological Society’s Student Member Group – “Beyond
           The Lecture” Theatre, September 30, 2021 – Webinar
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 9 of 143 PageID #:1524



     Presented for the Texas Psychological Association with Dr. Paul Hamilton on Conducting
            Behavioral Abnormality Evaluations at the Multidisciplinary Team Level for
            Purposes of the Civil Commitment Process of Sexually Violent Predators in the
            State of Texas, November, 2021.

     One of three Clinical Psychologists Invited to Present in a Live “Ask the Expert” Session
            at the 2021 Dallas Crimes Against Children Conference. “Ask the Expert:
            Grooming, Featuring Expert Dr. Darrel B. Turner,” August, 2021


     Keynote Speaker at the Southwestern Indiana Child Advocacy Center Coalition, Crisis
           Connection Conference, September, 2019

     Keynote Speaker and Presenter at the 2019 Utah Children’s Justice Symposium, Salt Lake
           City, Utah, May 14, 2019 – “Grooming Behaviors of Child Molesters and Impact
           on Behavior and Disclosure of Victims.”

     Invited Presenter at the annual TAASA Conference on “Online Solicitation of Minors for
             Sexual Purposes,” South Padre Island, Texas, April 30, 2018.

     Invited Workshop Presenter at the International Child Protection Congress in Coventry,
             England on “Grooming Behaviors of Child Molesters and the Impact on Behavior
             of Child Victims.” March 9, 2018.

     Keynote Speaker and Presenter at the Connections Count Conference in Lake Charles,
           LA, on February 21, 2018

     Invited Presenter at the 9th annual Champions of Children Conference in Chicago, IL

     Invited Guest Speaker at the 3rd annual Louisiana Defense Attorney’s Conference in
             Natchitoches, LA

     Invited Guest Speaker at the Quarterly Region D Texas TAASA Conference and
             Webinar, The Woodlands, TX, on July 25, 2016

     Invited Presenter at the National Association Against Sexual Abuse Annual Conference in
             Corpus Christi, TX, on March 8, 2016

     Invited Instructor at the San Antonio, TX, Police Department Sex Crimes Unit on
             Effective Interview Techniques of Suspects of Child Sexual Abusers with various
             Personality Constructs and Disorders, San Antonio, TX, in March, 2016

     Invited Speaker at the Connections Count Conference in Lake Charles, LA on the areas
             Ethical Considerations in Child Custody Evaluations, February 12, 2016

     Invited Instructor for Project Safe Childhood Webinar Series – Topic: “Risk Assessment
             of Child Pornography Offenders” at the United States Attorney’s Office in
             Lafayette, LA, on December 16, 2015

     Invited Presenter at the Lake Charles Area Family Law Organization Monthly Meeting
             On Best Practices in Child Custody Evaluations
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 10 of 143 PageID #:1525




     Instructor Trainer in Interviewing and Interrogating of Child Molesters at the Advanced
             Child Abuse Investigation Instructor Training at the Texas Municipal
             Policeman’s Association Training Facility in Austin, TX, December 9-11, 2015

     Invited speaker at the International Child Protection Congress in Edinburgh, Scotland,
             2015, Topic: “Grooming Behaviors of Child Molesters and the Effect on
             Behavior of Child Victims.”

      Invited Instructor at the Annual Project Safe Childhood Online Exploitation
              Seminar for the Office of Legal Education, U.S. Department of Justice in
              Columbia, South Carolina, August 3-7, 2015

     Invited speaker at the Austin Center for Child Protective Services October, 2015 Meeting
             Of the Travis County Child Protection Team

     Invited speaker at the 2013, 2015, 2016, 2019, 2021 Protect Our Children
            Conference in Omaha, Nebraska. Topic: “Understanding Counter-Intuitive
            Behaviors of Victims of Childhood Sexual Assault and Grooming Behaviors
            of Offenders.”

      Invited speaker to the Calcasieu Parish District Attorney’s Office in May, 2015. Topic:
             “Grooming Behaviors of Child Molesters and the Effect on Behavior of Child
             Victims.”

      Invited Speaker to the Special Prosecution Unit in Huntsville, Texas in March, 2015.
              Topic: “Understanding the Statistics Behind Risk Assessment of Sexually
              Violent Predators.”

      Invited speaker at the 2012, 2014, 2015, 2016, 2017, 2018, 2019, 2020, 2021, 2022
             International Crimes Against Children Conference in Dallas, TX. Topics: “Risk
             Assessment of Sexually Violent Predators”, “Risk Assessment of Child
             Pornography Offenders,” “Civil Commitment of Sexually Violent Predators in
             Texas,” “Grooming Behaviors of Child Molesters and the Impact on Victims,”
             “Denial Patterns and Deception of Detection among Sex Offenders,”
             “Collaboration Between Attorneys and Mental Health Experts in the
             Communication of Expert Testimony in Court,” “Paraphilias among Sex
             Offenders,” and “Maintaining Mental Health in the Field of Sexual Offenses.”

      Invited speaker at quarterly meeting of Project Safe Childhood at the Assistant
             United States Attorneys’ Office in Dallas Texas on several occasions.

      Invited to present on numerous occasions to discuss research findings on expert
             testimony impact on jurors and field reliability of psychological tests used in risk
             assessments. Also discussed were implications findings may have on practice.
             Special Prosecution Unit/Civil Division in Huntsville, Texas

      Invited to present research findings on expert testimony impact on jurors and field
             reliability of psychological tests used in risk assessments and to discuss
             implications on practice in Sexually Violent Predator Civil Commitment hearings
             with State Counsel for Offenders Office in Conroe, Texas.
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 11 of 143 PageID #:1526




      Invited to present research findings on current status of outpatient civil commitment
             program in Texas, field reliability of psychological tests used in risk assessments
             in Sexually Violent Predator Civil Commitment hearings with Counsel on Sex
             Offender Treatment (governing body of Texas SVP Civil Commitment Program)
             in Austin, Texas. Also discussed were effectiveness of PCL-R, Static-99, MnSost-
             R, and PAI in predicting compliance of offenders with parameters of Texas Civil
             Commitment Program.


      Invited to present research findings on field reliability of psychological tests used in risk
             assessments and an overview of functioning of Texas SVP Civil Commitment
             Program to Texas Department of Criminal Justice (TDCJ) in Huntsville, Texas.

      Invited speaker at the 2010 annual Texas Criminal Defense Lawyers’ Association
              Conference in Dallas, Texas. Topics included risk assessment of sexually violent
              predators and preliminary findings of my Dissertation, “Juror Perceptions of
              Expert Witness Testimony in Texas Sexually Violent Predator Civil Commitment
              Hearings.”

      Member of a focus group consisting of federal and local law enforcement, prosecutors,
           mental health professionals, and community service providers on Investigation
           Human Trafficking.

      Consultant to Lake Charles, Louisiana Police Department Cold Case Homicide Unit.

      Undercover Operative in Sting Operation of Illegal Sex Activity and Illegal Drug
            Activity in Lake Charles, Louisiana

MANUSCRIPTS UNDER REVIEW:

      Turner, D.T., Harris, P., Strauss, J., Zachary, S., Robinson, L.(2021) Introducing the
             APOD: Analysis of Patterns of Denial among Sex Offenders, In Press

RESEARCH EXPERIENCE:
      (November 2015 to Present) Invited to Collaborate with the FBI’s Behavioral Analysis
            Unit on Risk Factors of Child Pornography Offenders to Reoffend as Compared
            To Risk Factors of Contact Offenders.

      (November 2008 to August 2010) Assistant Researcher examining recidivism rates of the
            entire population of capital murderers in the Texas Department of Criminal
            Justice from 1994 to present. The study also examines the recidivism rates of
            those offenders convicted of Solicitation (or "Murder-for-Hire") crimes. Results
            examine rates of recidivism, types of reoffenses, and demographic characteristics
            of the population: Sam Houston State University.
            Supervisor: Mary Alice Conroy, Ph.D.
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 12 of 143 PageID #:1527



      (Spring 2007) Research Assistant, 10 hours per week, Witness Preparation Testimony
             Study, Department of Psychology, Sam Houston State University.
             Supervisor: Marc Boccaccini, Ph.D.

      (Fall 2006 to February 2015) Establishing and leading a research program in conjunction
              With Texas State Sexually Violent Predator Civil Commitment Court examining
              Details of expert witness testimony and effects of expert witness testimony on
              jurors in Texas Sexually Violent Predator Civil Commitment Hearings. Sam
              Houston State University. Supervisor: Marc Boccaccini, Ph.D.

      (Summer 2005 to Spring 2006) Psychology Department, McNeese State University.
           Completed a thesis examining the relationship between early “big wins” and
           pathological gambling behaviors among social and problematic gamblers.
           Department of Psychology, McNeese State University. Supervisor: Cameron L.
           Melville, Ph.D.

      (Summer 2005 to Spring 2006) Independent research examining the effect of
           incarceration on the mentally ill as well as arresting officer judgment concerning
           mental health of inmates and its correlation to inmate performance on several
           tests measuring mental health. Department of Psychology, McNeese State
           University. Supervisor: Lawrence S. Dilks, Ph.D.

      (Summer 2005 to Spring 2006) Independent research examining the relationship
           between inmate performance on the Millon Clinical Multiaxal Inventory and
           severity of Criminal Behavior. Department of Psychology, McNeese State
           University. Supervisor: Lawrence S. Dilks, Ph.D.

      (Fall 2004 to Spring 2005) Hired under Janelle M. Disney, Ph.D. to assist in the writing
              of the Best Practices Manual of the Access and Visitation Program for the
              Louisiana State Department.

      (Spring 2004 to Summer 2005) Lead researcher studying inmates at Calcasieu
             Correctional Center and the effect of cell assignment on recidivism among
             violent and non-violent inmates. Department of Psychology, McNeese State
             University. Supervisor: Diana Odom Gunn, Ph.D.

PRESENTATIONS AT PROFESSIONAL MEETINGS:
      Concannon, A. B., Ruchensky, J. R., Varela, J. G., Holdren, S. M., Kurus, S. J.,
            Harris, P. B., & Turner, D. B. (2022, March). Estimating scores for the
            alternative model for personality disorders in sexually violent predator
            evaluations: Associations with the Psychopathy-Checklist—Revised. Paper
            presented as part of the symposium “Using the Personality Assessment
            Inventory to Assess the Alternative Model for Personality Disorders” at the
            2022 Annual Conference of the Society for Personality Assessment, Chicago,
            IL.
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 13 of 143 PageID #:1528



      Kurus, S., K., Holdren, S., Rubenstein, L., Varela, J. G., Boccaccini, M. T., Harris, P.
             B., Turner, D. T., & Hamilton, P. M. (2020, March). Evaluator differences in
             PCL-R scoring and risk level determination in sexually violent predator civil
             commitment evaluations. Poster presented at the annual convention of the
             American Psychology-Law Society, New Orleans, LA.

      Trupp, G.F., Preszler, J., Boccaccini, M.T., Marcus, D.J., Varela, J.G., & Turner, D.B.
             (2019, March). Network Analysis of Psychopathy as Defined by the PCL-R
             Within the Field. Poster presented to the Annual Meeting of the American
             Psychology-Law Society, Portland, OR.

      Turner, D., Chevalier, C., Boccaccini, M. T., & Murrie, D. C. (2012, March). Do SVP
             jurors believe that offenders with higher risk measure scores are more likely to
             reoffend? Poster presentation at the meeting of the American Psychology-Law
             Society, San Juan, PR.

      Boccaccini, M.T., Rufino, K., Turner, D., & Murrie, D.C. (2011, March). Do some
            evaluators assign consistently higher PCL-R facet scores than others?: Yes and
            No. In D.C. Murrie (Chair), Field reliability and field validity of forensic
            Psychology-Law Society, Miami, FL.

      Boccaccini, M.T., Turner, D., & Murrie, D.C. (2009, March). Do some evaluators report
           consistently higher or lower PCL-R scores than others? Paper presented at the
           meeting of the American Psychology-Law Society, San Antonio, Texas.

      Turner, D.B., Wevodau, A., Boccaccini, M.T., & Murrie, D.C. (2011, March). SVP
             jurors’ beliefs about the recidivism rate that indicates an offender is “likely” to
             reoffend. Poster presented at the meeting of the American Psychology-Law
             Society, Miami, FL.

      Turner, D., Boccaccini, M.T., & Murrie, D. C. (2010, March). Are PCL-R scores from
             state or defense experts more predictive of future offending? In I. Packer (Chair),
             Issues in Psychopathy Assessment. Symposium presented at the meeting of the
             American Psychology-Law Society, Vancouver, Canada.

      Turner, D., Boccaccini, M.T., Meeks, M., & Murrie, D.C. (2009, March). Real SVP
             jurors' beliefs about what influences their decisions. In D. Krauss (Chair), Expert
             witness testimony in sexually violent predator trials. Symposium presented at the
             meeting of the American Psychology-Law Society, San Antonio, Texas.

      Meeks, M., Boccaccini, M.T., & Turner, D. (2009, March). Evidence or experts?: SVP
            jurors beliefs about influences in their trial decisions. In D. Krauss (Chair),
            Expert witness testimony in sexually violent predator trials. Symposium
            presented at the meeting of the American Psychology-Law Society,
            San Antonio, Texas.

      Murrie, D.C., Boccaccini, M.T., & Turner, C. (2009, March). How research on SVP
             juries should-and should not-inform expert testimony in SVP trials. In D. Krauss
             (Chair), Expert witness testimony in sexually violent predator trials. Symposium
             presented at the meeting of the American Psychology-Law Society,
             San Antonio, Texas.
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 14 of 143 PageID #:1529




      Meeks, M., Turner, D., Woods, C., Boccaccini, M.T., & Murrie, D.C. (2009, March).
              Which diagnoses do experts identify as "behavioral abnormalities" for SVP
              offenders? Poster presented at the meeting of the American Psychology-Law
              Society, San Antonio, Texas.
      Clark, J., Boccaccini, M.T., & Turner, D. (2008, March). Attitudes
              toward confessions: Psychometric properties of new and existing
              measures. Poster presented at the meeting of the
              American Psychology Association, Jacksonville, FL.

      Turner, D., Boccaccini, M.T., & Murrie, D.C. (2008, March). Jurors'
             perceptions of expert witness testimony in SVP hearings. Poster
             presented at the meeting of the American
             Psychology-Law Society, Jacksonville, Florida.

      Murrie, D.C., Boccaccini, M.T., Turner, D., & Meeks, M. (2008, March).
             Interrater (dis)agreement on actuarial risk measure scores completed by
             opposing evaluators in sexually violent predator trials. Paper
             presented at the meeting of the American Psychology
             Association, Jacksonville, FL.

      Whiteman, J.L., & Turner, D.B. (Spring 2006). Life Actualization Therapy.
            Presentation at Fall 2005 (postponed to Spring 2006) Louisiana Counselors
            Association Conference, Baton Rouge, LA.

      Symposium: Whiteman, J.L., Dilks, L.S., Marceaux, J.C., Turner, D.B.,
           White, R., Mayeaux, B.D. (Spring 2006). Hurricane Rita: Personality
           Variables and Coping Mechanisms. Southwestern Psychological Association
           annual conference, Austin, TX.

      Turner, D.B., Dilks, L.S., Boyd, S.L., Marceaux, J.C. (Spring 2006). The
             Relationship between Inmate Performance on the Millon Clinical Multiaxal
             Inventory and Severity of Criminal Behavior. Paper presentation at the
             Southwestern Psychological Association annual conference, Austin, TX.

      Marceaux. J.C., Melville, C.L., Turner, D.B. (Spring 2006). Early Wins and
            Losses in Pathological Gambling. Paper presentation at the Southwestern
            Psychological Association annual conference, Austin, TX.

      Boyd, S.L., Dilks, L.S., Marceaux, J.C., & Turner, D.B. (Spring 2006).
             Psychological and Behavioral Attributes of the Incarcerated Individual. Paper
             presentation at the Southwestern Psychological Association annual conference,
             Austin, TX.

TEACHING EXPERIENCE:
      (Fall 2011 to Summer 2019) Online Faculty Member through the University of
      Phoenix (Summer 2013 to Summer 2015)

      Online Faculty Member through Argosy University (Fall 2012 to Fall 2014)
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 15 of 143 PageID #:1530



      Adjunct Professor at McNeese State University

      (Spring 2006) Teaching Graduate Assistant: Introduction to Psychology 101,
             McNeese State University

      (Fall 2005) Teaching Graduate Assistant: Introduction to Psychology 101 and a web-
              based course I designed in Educational Psychology 211, McNeese State
              University


      (Spring 2005) Teaching Graduate Assistant: Introduction to Psychology 101 and
             Educational Psychology 211, McNeese State University

      (Fall 2004) Teaching Graduate Assistant: Introduction to Psychology 101 and a
              Satellite Video course in Introduction to Psychology 101, McNeese State
              University

PROFESSIONAL ASSOCIATIONS:
      American Psychological Association
      American Psychology Law Society
      Southwestern Psychological Association
      Psi Chi, the National Honors Society in Psychology
      Member of Louisiana Registry of Sex Offender Treatment Providers
      Texas Psychological Association
      Louisiana Psychological Association
HONORS:

      2011 Honor Graduate at Federal Law Enforcement Training Center, Glynco, Georgia

      2009 Outstanding Research by a Doctoral Student in Psychology Department at Sam
            Houston State University

      2008 James P. Weber Outstanding Second Year Psychology Graduate Student
             Scholarship

      McNeese State University Foundation 2005-2006 Dore Graduate School Fellowship (one
           of two recipients)

      The Dore Fellowship for Graduate Assistants, Spring 2005

      The Dore Fellowship for Graduate Assistants, Fall 2004
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 16 of 143 PageID #:1531
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 17 of 143 PageID #:1532
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 18 of 143 PageID #:1533
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 19 of 143 PageID #:1534
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 20 of 143 PageID #:1535
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 21 of 143 PageID #:1536
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 22 of 143 PageID #:1537
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 23 of 143 PageID #:1538
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 24 of 143 PageID #:1539
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 25 of 143 PageID #:1540
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 26 of 143 PageID #:1541
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 27 of 143 PageID #:1542
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 28 of 143 PageID #:1543
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 29 of 143 PageID #:1544
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 30 of 143 PageID #:1545
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 31 of 143 PageID #:1546
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 32 of 143 PageID #:1547
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 33 of 143 PageID #:1548
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 34 of 143 PageID #:1549
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 35 of 143 PageID #:1550
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 36 of 143 PageID #:1551
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 37 of 143 PageID #:1552
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 38 of 143 PageID #:1553
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 39 of 143 PageID #:1554
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 40 of 143 PageID #:1555
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 41 of 143 PageID #:1556
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 42 of 143 PageID #:1557
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 43 of 143 PageID #:1558
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 44 of 143 PageID #:1559
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 45 of 143 PageID #:1560
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 46 of 143 PageID #:1561
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 47 of 143 PageID #:1562
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 48 of 143 PageID #:1563
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 49 of 143 PageID #:1564
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 50 of 143 PageID #:1565
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 51 of 143 PageID #:1566
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 52 of 143 PageID #:1567
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 53 of 143 PageID #:1568
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 54 of 143 PageID #:1569
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 55 of 143 PageID #:1570
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 56 of 143 PageID #:1571
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 57 of 143 PageID #:1572
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 58 of 143 PageID #:1573
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 59 of 143 PageID #:1574
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 60 of 143 PageID #:1575
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 61 of 143 PageID #:1576
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 62 of 143 PageID #:1577
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 63 of 143 PageID #:1578
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 64 of 143 PageID #:1579
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 65 of 143 PageID #:1580
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 66 of 143 PageID #:1581
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 67 of 143 PageID #:1582
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 68 of 143 PageID #:1583
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 69 of 143 PageID #:1584
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 70 of 143 PageID #:1585
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 71 of 143 PageID #:1586
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 72 of 143 PageID #:1587
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 73 of 143 PageID #:1588
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 74 of 143 PageID #:1589
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 75 of 143 PageID #:1590
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 76 of 143 PageID #:1591
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 77 of 143 PageID #:1592
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 78 of 143 PageID #:1593
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 79 of 143 PageID #:1594
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 80 of 143 PageID #:1595
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 81 of 143 PageID #:1596
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 82 of 143 PageID #:1597
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 83 of 143 PageID #:1598
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 84 of 143 PageID #:1599
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 85 of 143 PageID #:1600
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 86 of 143 PageID #:1601
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 87 of 143 PageID #:1602
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 88 of 143 PageID #:1603
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 89 of 143 PageID #:1604
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 90 of 143 PageID #:1605
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 91 of 143 PageID #:1606
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 92 of 143 PageID #:1607
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 93 of 143 PageID #:1608
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 94 of 143 PageID #:1609
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 95 of 143 PageID #:1610
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 96 of 143 PageID #:1611
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 97 of 143 PageID #:1612
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 98 of 143 PageID #:1613
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 99 of 143 PageID #:1614
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 100 of 143 PageID #:1615
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 101 of 143 PageID #:1616
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 102 of 143 PageID #:1617
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 103 of 143 PageID #:1618
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 104 of 143 PageID #:1619
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 105 of 143 PageID #:1620
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 106 of 143 PageID #:1621
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 107 of 143 PageID #:1622
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 108 of 143 PageID #:1623
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 109 of 143 PageID #:1624
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 110 of 143 PageID #:1625
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 111 of 143 PageID #:1626
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 112 of 143 PageID #:1627
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 113 of 143 PageID #:1628
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 114 of 143 PageID #:1629
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 115 of 143 PageID #:1630
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 116 of 143 PageID #:1631
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 117 of 143 PageID #:1632
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 118 of 143 PageID #:1633
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 119 of 143 PageID #:1634
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 120 of 143 PageID #:1635
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 121 of 143 PageID #:1636
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 122 of 143 PageID #:1637
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 123 of 143 PageID #:1638
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 124 of 143 PageID #:1639
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 125 of 143 PageID #:1640
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 126 of 143 PageID #:1641
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 127 of 143 PageID #:1642
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 128 of 143 PageID #:1643
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 129 of 143 PageID #:1644
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 130 of 143 PageID #:1645
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 131 of 143 PageID #:1646
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 132 of 143 PageID #:1647
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 133 of 143 PageID #:1648
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 134 of 143 PageID #:1649
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 135 of 143 PageID #:1650
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 136 of 143 PageID #:1651
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 137 of 143 PageID #:1652
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 138 of 143 PageID #:1653
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 139 of 143 PageID #:1654
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 140 of 143 PageID #:1655
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 141 of 143 PageID #:1656
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 142 of 143 PageID #:1657
Case: 1:19-cr-00567 Document #: 260-1 Filed: 08/08/22 Page 143 of 143 PageID #:1658
